Case 1:04-cr-01035-CBA-RML   Document 51   Filed 05/20/05   Page 1 of 5 PageID #: 55
Case 1:04-cr-01035-CBA-RML   Document 51   Filed 05/20/05   Page 2 of 5 PageID #: 56
Case 1:04-cr-01035-CBA-RML   Document 51   Filed 05/20/05   Page 3 of 5 PageID #: 57
Case 1:04-cr-01035-CBA-RML   Document 51   Filed 05/20/05   Page 4 of 5 PageID #: 58
Case 1:04-cr-01035-CBA-RML   Document 51   Filed 05/20/05   Page 5 of 5 PageID #: 59
